     Case 1:18-cv-00859-WMR Document 14-6 Filed 05/23/18 Page 1 of 2




                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

NORMAN MACPHEE, Individually and on
Behalf of All Others Similarly Situated,
                                             CIVIL ACTION NO.
                            Plaintiff,       1:18cv00830-ELR
                     v.

MIMEDX GROUP, INC., MICHAEL J.
SENKEN, and PARKER H. PETIT,

                             Defendants.
MATTHEW KLINE, Individually and on
Behalf of All Others Similarly Situated,
                                             CIVIL ACTION NO.
                            Plaintiff,       1:18cv00859-ELR
                     v.

MIMEDX GROUP, INC., PARKER H.
PETIT and MICHAEL J. SENKEN,

                            Defendants.


               LOCAL RULE 23.1C(4)(c) CERTIFICATION
       Case 1:18-cv-00859-WMR Document 14-6 Filed 05/23/18 Page 2 of 2




      Pursuant to 28 U.S.C. § 1746, I, Frederic S. Fox, counsel for Arkansas Teacher

Retirement System, hereby certify, pursuant to LR 23.1(C)(4)(c), that with regard to

the case at bar, Kaplan Fox & Kilsheimer LLP:

      1. has issued or caused to be issued no more than one notice to putative class

         members (except as authorized by LR 23.1(C)(4)(a)(III));

      2. has complied with the Local Rules of this Court; and

      3. has complied with applicable State Bar of Georgia ethical Rules.

      I declare under penalty of perjury that to the best of my knowledge the

foregoing is true and correct.

This 23rd day of May, 2018



                                                /s/ Frederic S. Fox
                                                  Frederic S. Fox
